                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNIVERSAL LIFE INSURANCE                  )
COMPANY,                                  )
                                          )
                     Plaintiff,           )
                                          )
              v.                          )             1:20CV681
                                          )
GREG E. LINDBERG,                                )
                                          )
                     Defendant(s).        )

                                         ORDER

       The Order and Recommendation of the United States Magistrate Judge was filed with

the Court in accordance with 28 U.S.C. § 636(b) and, on March 31, 2022, was served on the

parties in this action. (ECF Nos. 112, 113). Defendant/Counter-Plaintiff filed Objections to

the Magistrate Judge’s Recommendation. (ECF No. 115.) Also, Defendant/Counter- Plaintiff

filed a Motion for Leave to File Reply Brief In Further Support of Objections To The Order

and Recommendation, (ECF No. 119.)

       The Court has reviewed Defendant/Counter-Plaintiffs Objections and the Magistrate

Judge’s Recommendation to which the objections were made and has made a de novo

determination which is in accord with the Magistrate Judge’s Recommendation. The Court

therefore adopts the Magistrate Judge’s Recommendation.

       The Court has also reviewed and considered Defendant/Counter-Plaintiff’s Motion

For Leave to File Reply Brief In Further Support of his objections and finds that Rule 72 of

this Court’s Local Rules does not provide for such reply. Further, the Court finds that even

if the Reply was allowed it would not change the conclusion that there are no genuine issues




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of material fact, that the evidence discussed in the Reply does not create a genuine issue

regarding whether payment has been made, and that summary judgment is proper. Thus

Defendant/Counter-Plaintiff’s motion will be denied.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Leave to File Reply Brief,

(ECF No. 119), is DENIED.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Summary Judgment, (ECF

No. 106), is GRANTED as to Plaintiff’s breach of contract claim and as to Defendant’s

affirmative defenses and counterclaims, and that judgment be entered requiring Defendant

Lindberg to pay to Plaintiff the amount of $524,009,051.26 plus any applicable interest, as

reflected in the Final Judgment of the United States District Court for the Southern District

of New York against PBLA, personally guaranteed by Defendant Lindberg in the Guaranty

Agreement.

       A judgment dismissing this action will be entered contemporaneously with this Order.

       This, the 3rd day of May 2022.


                                          /s/ Loretta C. Biggs
                                          United States District Judge




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